              Case 18-21587-PGH       Doc 37      Filed 06/10/20     Page 1 of 2




                       UNITED STATES BANKRUTPCY COURT
                        SOUTHERN DISTRICT OF FLORIDA
                           FT. LAUDERDALE DIVISION
                               www.flsb.uscourts.gov

In re:                                         Case No. 18-21587-PGH
         Altagracia Tavarez

          Debtor(s).                           Chapter 13
_________________________/

                     MOTION TO MODIFY CHAPTER 13 PLAN

         COMES NOW, the Debtor, Altagracia Tavarez, by and through her undersigned

counsel and files this Motion to Modify Chapter 13 Plan and as grounds states as follows:

         1.     On September 20, 2018 the instant case was filed.

         2.     On January 17, 2019 Debtor’s First Amended Chapter 13 plan was

                confirmed.

         3.     The Debtor has experienced and is currently experiencing a material

                financial hardship due to COVID-19 since she has not been working

                much, if at all, during the last couple of months.

         4.     The Debtor submits to modify her current plan under the CARES Act §

                1113(b)(1)(C) which modifies §§ 1329 (d)(1)-(3) and seeks to extend plan

                payments for a total of 84 months.

         5.     Furthermore, in debtor’s current plan, the debtor is paying Select Portfolio

                Servicing, Inc. under a cure and maintain plan.

         6.     Said Creditor filed a notice of mortgage payment change, wherein the

                regular payment of the debtors’ mortgage has increased.

         7.     Debtor desire to modify their plan in order to provide for the new

                payment.
            Case 18-21587-PGH         Doc 37     Filed 06/10/20     Page 2 of 2




        WHEREFORE, undersigned counsel prays that this Honorable Court enter an

Order Granting and Approving debtors’ Second Modified Plan.

        I HEREBY CERTIFY that I am admitted to the Bar of the United States District

Court for the Southern District of Florida and I am in compliance with the additional

qualifications to practice in this Court as set forth in Local Rule 910(A).

                             CERTIFICATE OF SERVICE

                I HEREBY CERTIFY, that a true and correct copy of the foregoing was

sent via ecf to Robin R. Weiner, Trustee and U.S. Mail on June 10, 2020: to all parties

on the service list.

                                      Respectfully Submitted:

                                      ROBERT SANCHEZ, P.A.
                                      Attorney for Debtors
                                      355 W 49th Street
                                      Hialeah, FL 33012
                                      Tel. 305-687-8008

                                      By:/s/ Robert Sanchez_____________
                                        Robert Sanchez, Esq., FBN#0442161
